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                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA,                          )
                                                   )
                     Plaintiff,                    )
                                                   )
              vs.                                  ) Case No.     4:16-cr-00126-RGE-CFB
                                                   )
JAIRO GEOV ANNY ESCARENO CHAVEZ,                   )
                                                   )
                     Defendant.                    )

   REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY

       The United States of America and the Defendant, having both filed a written consent,

appeared before me pursuant to Rule 11, Fed. R. Crim. P. and L. Cr. R. 11. The Defendant

entered a plea of guilty to Count One and Count Ten of the Second Superseding Indictment.

After cautioning and examining the Defendant under oath concerning each of the subjects

mentioned in Rule 11, I determined that the guilty plea was knowing and voluntary as to each

count, and that the offense charged is supported by an independent factual basis concerning each

of the essential elements of such offense. Defendant understands and agrees to be bound by the

terms of the Plea Agreement. I, therefore, recommend that the plea of guilty be accepted, that a

pre-sentence investigation and report be prepared, and that the Defendant be adjudged guilty and

have sentence imposed accordingly.



Date                                        CELESTE F. BREMER
                                            UNITED STATES MAGISTRATE JUDGE


                                           NOTICE

Failure to file written objections to this Report and Recommendation within fourteen (14) days
from the date of its service shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. 636(b)(l)(B).
